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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 KEITH EDWARD MOSS,                           )
     Plaintiff,                               )    Case No. 7:21-cv-00234
                                              )
 v.                                           )
                                              )    By: Michael F. Urbanski
 CHIEF RYAN ZUIDEMA, et al.,                  )    Chief United States District Judge
     Defendants.                              )

                               MEMORANDUM OPINION

        Plaintiff Keith Edward Moss, a state pretrial detainee proceeding pro se, filed this

 civil action under 42 U.S.C. § 1983 against the City of Lynchburg, various individuals

 employed by or affiliated with the City of Lynchburg Police Department, and an attorney.

 By order entered September 3, 2021, the court notified Moss that his amended complaint

 contained misjoined claims and defendants. See ECF No. 9. The court advised Moss that in

 order to proceed with this action, he must file a second amended complaint within 30 days.

 The court expressly warned Moss that failure to file a second amended complaint may result

 in dismissal of the case.

        Despite receiving an extension of time, Moss has not filed a second amended

 complaint or had any further communication with the court. He has not complied with the

 court’s order and the time for doing so has expired. Accordingly, the court will dismiss the

 action without prejudice. An appropriate order will be entered.

                                                   Entered: December 3, 2021
                                                                       Michael F. Urbanski
                                                                       Chief U.S. District Judge
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                                                   Michael F. Urbanski
                                                   Chief United States District Judge
